                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


SECURITIES AND EXCHANGE
COMMISSION,
                                                                8:23CV408
                        Plaintiff,
       v.
                                                  ORDER GRANTING SECURITIES
JON PATRICK KUBLER, AKSARBEN                      AND EXCHANGE COMMISSION’S
EVOLUTION, L.L.C., AV BHILL, L.L.C.,                UNOPPOSED MOTION FOR
CFH TEXAS, L.L.C., GREEN SADDLE,                   PRELIMINARY INJUNCTION,
L.L.C., KUBLER CONSULTING, L.L.C.,                  ASSET FREEZE AND OTHER
KUBLER FINANCIAL, INC., and                                 RELIEF
MIDWEST PEG, L.L.C.,
                        Defendants.



      This matter is before the Court on plaintiff Securities and Exchange Commission’s
(“SEC”) Unopposed Motion for the Court to Enter an Order Imposing a Preliminary
Injunction, Asset Freeze, and Other Relief and to Cancel the Preliminary Injunction
Hearing (Filing No. 32).

      The Court has reviewed the Consent signed by Jon P. Kubler, Kubler Consulting,
L.L.C., Aksarben Evolution, L.L.C., AV Bhill, L.L.C., CFH Texas, L.L.C., and Green
Saddle, L.L.C. (collectively “defendants”) and Kubler Financial, Inc. and Midwest PEG,
L.L.C. (collectively “relief defendants”) and their counsel (Filing No. 32-1). Without
admitting allegations in the SEC’s complaint, the defendants and relief defendants admit
the Court’s personal and subject matter jurisdiction of this action. Defendants and relief
defendants have agreed to the entry of this Preliminary Injunction Order.

      After a review of the record and for good cause shown, the SEC’s motion is granted,
and the Court orders:
       1.      Defendants and their respective agents, servants, employees, attorneys and
all persons in active concert or participation with any of them, in the offer or sale of
securities, by use of any means or instruments of transportation or communication in
interstate commerce, or by use of the mails, be and they hereby are, restrained from,
directly or indirectly:

       A.      employing any device, scheme, or artifice to defraud;
       B.      obtaining money or property by means of any untrue statement of material
               fact or any omission to state a material fact necessary in order to make the
               statements made, in light of the circumstances under which they were made,
               not misleading; or
       C.      engaging in transactions, practices, or courses of business that operated or
               would operate as a fraud or deceit upon the purchasers of such securities, in
               violation of Section 17(a) of the Securities Act of 1933 [15 U.S.C. § 77q(a)].

       2.      Defendants and their respective agents, servants, employees, attorneys and all
persons in active concert or participation with any of them, in connection with the purchase
or sale of securities, by use of any means or instrumentalities of interstate commerce, or by
the mails or any facility of any national securities exchange, be, and they hereby are,
restrained from, directly or indirectly:

       A.      employing any device, scheme or artifice to defraud;
       B.      making any untrue statement of a material fact, or omitting to state a material
               fact necessary in order to make the statements made, in the light of the
               circumstances under which they were made, not misleading; or
       C.      engaging in any act, practice or course of business which operates or would
               operate as a fraud or deceit upon any person, in violation of Section 10(b) of
               the Securities Exchange Act of 1934 (“Exchange Act”) [15 U.S.C. § 78j(b)]
               and Exchange Act Rule 10b-5 adopted thereunder [17 C.F.R. § 240.l0b-5].

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       3.     Defendant Jon P. Kubler is restrained and enjoined from directly or indirectly,
including, but not limited to, through any entity owned or controlled by him, participating in
the issuance, purchase, offer, or sale of any security; provided however, that such injunction,
subject to the asset freeze, shall not prevent him from purchasing or selling securities for his
own personal account.

       4.     As a part of this order:

       A.     All the assets, funds, or other property held by or under direct or indirect
              control of defendants and relief defendants, whether held in any of their names
              or for their direct or indirect beneficial interests or in an account upon which
              Jon P. Kubler is a signatory, wherever located and by whomever held, and
              whether acquired before or after institution of this action, are frozen;
       B.     Defendants and relief defendants and their officers, directors, successor
              corporations, subsidiaries, affiliates, agents, servants, employees, attorneys-in­
              fact, and those persons in active concert or participation with them who receive
              actual notice of this order by personal service or otherwise, and each of them,
              shall hold and retain within their control, and otherwise prevent any
              disposition,   transfer,   pledge,   encumbrance,     assignment,    dissipation,
              concealment, or other disposal whatsoever (including the use of any credit
              cards or other incurring of debt) of any of their funds, property (including
              money, virtual currency or other digital asset, real or personal property,
              tangible assets, securities, commodities, choses in action, or other property of
              any kind whatsoever, in whatever form such assets may exist and wherever
              located) or other assets or things of value held by them, under their control or
              over which they exercise actual or apparent investment or other authority, in
              whatever form such assets may presently exist and wherever located and
              whether acquired before or after institution of this action.


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    C.      Any bank, financial or brokerage institution or other person or entity holding
            any funds, securities or other assets of the defendants or relief defendants held
            in the name of, for the benefit of, or under the control of defendants, relief
            defendants; or their officers, directors, agents, servants, employees, attorneys-
            in-fact, and those persons in active concert or participation with them, and each
            of them, shall hold and retain within their control and prohibit the withdrawal,
            removal, pledging, transfer, other use or disposal of any such funds or other
            assets.

    This Order specifically applies, but is not limited to, the following accounts:

Financial Institution            Account Name                   Account Number - Redacted

Bank of the West                 Jon Patrick Kubler             xxxxx3815

Bank of the West                 Jon Patrick Kubler and         xxxxx5705
                                 Cayden R. Kubler
Bank of the West                 Aksarben Evolution, LLC        xxxxx1234

Bank of the West                 CFH Texas, LLC                 xxxxx6072

Bank of the West                 Green Saddle, LLC              xxxxx8440

Bank of the West                 Kubler Consulting, LLC         xxxxx2668

Bank of the West                 Kubler Financial Inc.          xxxxx9861

Bank of the West                 Midwest PEG, LLC

Capital One, N.A. and Capital Jon Patrick Kubler                XXXX XXXX XXX 1288
One Bank (USA), N.A.


Core Bank                        Midwest PEG, LLC               xxxxxx3095


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Comerica Bank                Green Saddle, LLC            xxxxxx2092

Comerica Bank                Jon P. Kubler                xxxxxx0232

Enterprise Bank & Trust      CFH Texas, LLC               xxx0057

Enterprise Bank & Trust      AV Bhill, LLC                xxxl636

First National Bank of       Aksarben Evolution, LLC      xxxxx2430
Omaha
First National Bank of       AV Bhill, LLC                xxxxx6550
Omaha
First National Bank of       Jon Kubler and Suzanne       xxxxx4985
Omaha                        Kubler
John Hancock Funds           Jon Patrick Kubler           xxxx1712
JPMorgan Chase Bank, N.A.    Jon Patrick Kubler           xxxxx 6536


JPMorgan Chase Bank, N.A.    Jon Patrick Kubler           xxxxx 2286


JPMorgan Chase Bank, N.A.    Jon Patrick Kubler           xxxxx 1026


Middlesex Federal Savings,   Kubler Financial Inc.        xxxxx6939
F.A.
Pinnacle Bank                Jon Patrick Kubler           xxxxxx2850
Pinnacle Bank                Kubler Financial, Inc.       xxxxxx0949
Pinnacle Bank                Kubler Financial, Inc. Jon   xxxxxx2930
                             P. Kubler, Richard Kubler
                             and Dianne Kubler
PNC Bank                     Jon Patrick Kubler           xxxxxx8363
PNC Bank                     Green Saddle, LLC            xxxxxx9415
PNC Bank                     Kubler Financial Inc.        xxxxxx5574

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  TIAA Bank                         Aksarben Evolution, LLC         xxxxx7412
  TIAA Bank                         Aksarben Evolution, LLC         xx.xx xxxx xxxx 4899
  TIAA Bank                         Aksarben Evolution, LLC         xxxx xxxx xxxx 4907



       D.     No person or entity, including any of the defendants or relief defendants, or
              any creditor or claimant against any of the defendants or relief defendants, or
              any person acting on behalf of such creditor or claimant, shall take any action
              to interfere with the asset freeze, including, but not limited to, the filing of any
              lawsuits, liens, or encumbrances, or bankruptcy cases to impact the property
              and assets subject to this order; provided, however, that any party or non-party
              may seek leave from this order upon a proper showing.
       E.     Copies of this Order may be served by any means, including facsimile
              transmission, email, and overnight courier, upon any entity or person that may
              have possession, custody, or control of any assets of any of the defendants or
              relief defendants that may be subject to any provision of this Order.

       5.     Each of the defendants and relief defendants are prohibited, directly or
indirectly, from accepting, depositing, or disbursing funds from investors. Defendants and
relief defendants and their officers, directors, successor corporations, subsidiaries and
affiliates, agents, servants, employees, attorneys-in-fact, and those person in active concert
or participation with any of them who receive actual notice of this order by personal service
or otherwise, and each of them, shall refrain from accepting, depositing, or disbursing in any
financial institution, funds from investors.

       6.     Defendants and relief defendants and their agents, servants, employees,
attorneys-in-fact, any bank or financial institution holding any of the assets of any of the
defendants or relief defendants, and all persons in active concert or participation with any of
them who receive actual notice of this Order by personal service or otherwise, and each of

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them, are hereby restrained from destroying, mutilating, concealing, altering, or disposing of
any document referring or relating in any manner to any transactions described in the SEC’s
complaint in this action. As used in this Order, “document” means the original and all non-
identical copies (whether non­identical because of handwritten notation or otherwise) of all
written or graphic matter, however produced, and any other tangible record, or electronic
data compilation capable of reproduction in tangible form, including, without limitation,
correspondence, memoranda, minutes, telephone records, e-mails, text messages, reports,
studies, telexes, diaries, calendar entries, contracts letters of agreement, and including any
and all existing drafts of all documents.

       7.     Defendants and relief defendants each shall submit, in writing, a sworn
accounting to this Court and SEC, subject to the valid assertion of the right against self-
incrimination, on or before December 8, 2023, providing the following information:

       A.     All funds that the defendants and relief defendants received from investors,
              the uses of investors' funds, and their current location from January 1, 2016,
              through the date of this Order;
       B.     The name of all persons or entities that invested funds with each of the
              defendants from January 1, 2016, through the date of this Order, the amount
              of funds, the date of each investment, the addresses, telephone numbers, and
              e-mail addresses of the investors; and the date, amount, and source of each
              repayment made to investors;
       C.     All investments defendants made with investors’ funds from January 1, 2016,
              through the date of this Order;
       D.     The name of all financial institutions or brokerage firms, along with the
              mailing address, telephone number, account numbers and the name of the
              person or entity listed on the account, where defendants or relief defendants
              held accounts either directly in their name or which were held for defendants’


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              and relief defendants’ beneficial interest from January 1, 2016, through the
              present, including, the current balance in each such account;
       E.     Each account, including safe deposit boxes, with any bank, financial
              institution or brokerage firm, maintained in the names of any of the defendants
              and relief defendants, or the names of any subsidiary, affiliate, or agent, in
              which they have direct or indirect control or beneficial interest, and the current
              value and makeup of that account;
       F.     All investments, securities, funds, real estate, and other assets held in the
              names of any of the defendants or relief defendants, or in the names of any
              subsidiary, affiliate, or agent or under their direct or indirect control, stating a
              description, a value, and location of such assets;
       G.     Every transaction in which the ownership, direction, or control of any funds or
              other assets of any kind have been transferred, directly or indirectly, to or from
              any of the defendants or relief defendants since January 1, 2016; and
       H.     Every transaction exceeding $3,000 in value in which the ownership,
              direction, or control of any funds or other assets of any kind have been
              transferred, directly or indirectly, to or from any defendant or relief defendant
              since January 1, 2016.

       8.     This Order is binding upon each of the defendants and relief defendants, and
each of their agents, servants, employees, attorneys-in-fact, and those persons in active
concert or participation with him or her who receive actual notice of this Order by personal
service, facsimile service, email service or service in accordance with this Order, or
otherwise.

       9.     The hearing presently set in this Court at 2:00 p.m. on the 29th day of
September 2023, in Courtroom 4 of the Roman L. Hruska Federal Courthouse, 111 South
18th Plaza, Omaha, Nebraska 68102, is cancelled. The Temporary Restraining Order (Filing


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No. 11) including its provisions allowing expedited discovery are dissolved upon entry of
this Order.

       10.    This Court shall retain jurisdiction over this matter and defendants and relief
defendants in order to implement and carry out the terms of all orders and decrees that may
be entered and/or to entertain any suitable motion for additional relief within the jurisdiction
of this Court, and the Court may order other relief that this Court deems appropriate under
the circumstances.

       IT IS SO ORDERED.

       Dated this 28th day of September 2023.


                                                   BY THE COURT:




                                                   Robert F. Rossiter, Jr.
                                                   Chief United States District Judge




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